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                                                                     #234
%AO 245B         (&v. 06105) Judgment in a Criminal Case
                 Sheet 1



                                            UNITEDSTATESDISTRICTCOURT
                           SOUTHERN                               District of                                   ILLINOIS

            UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                v.
                      SHANE A. CLUTTS
                                                                          Case Number:           4:05CR40033-001-JPG

                                                                          USM Number: 06700-025
                                                                          Judith A. Kuenneke, FPD
                                                                          - ...
                                                                              .. ...
                                                                          kfenrlmf'q  ... ....
                                                                                     Affomev

THE DEFENDANT:
upleaded guilty to count(s)             1 of the Superseding Indictment
                                                                                                           --
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

'Title & Section                     Nature of Oflense                                                     Offense Ended

,.*..   .    ,

                                      Grams or More of Methamphetamine



       The defendant is sentenced as provided in pages 2 through              9          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                  is       are dismissed on the motion of the United States.

         It is ordered thal the defendant must notify the Un/ted States anomey for thls dlstrict wihm 30 da s of any chan e ofname, reslden
or mailing address untr1,all fines, restltutlon, costs, and special assessments imposed by t h ~judgment
                                                                                                 s       are f d y pald. lf ordred to pay restltutio
the defendant must notify h e coun and Unlted States attorney of matenal changes in economlc circumstances.




                                                                           J. Phil Gilbert, District Judge
                                                                                                                      Title of Judge
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DEFENDANT: SHANE A. CLUTTS
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                                                               IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

  144 months on Count i s



           The court makes the following recommendations to the Bureau of Prisons:

  That the defendant be placed in the Intensive Drug Treatment Program.



     @ The defendant is remanded to the custody of the United States Marshal.
           The defendant shall surrender to the United States Marshal for this district:
                at                                   13 a.m.         p.m.      on
                as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial S e ~ c e Office.
                                                                   s


                                                                    RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                          to

at                                                     , with a certified copy of this judgment.


                                                                                                      UNITED STATES MARSHAL


                                                                             BY
                                                                                                   DEPUTY UNITED STATES MARSHAL
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A 0 2458      (Rev. 06/05) Judgment in a Criminal Case
              sheet 3 S u p e r v i s e d Release
                                                                                                           Judgmentqage      2      of          9
 DEFENDANT: SHANE A. CLUTTS
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                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term o f :

  5 years on Count Is.



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from th
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defepdant shall su%mitto one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as detemuned by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant sball not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        stndent, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a f ~ ore restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule od~aymentssheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional condition
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fust five days o
           each month,
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or 0th
           acceptable reasons;
   6)      the defendant sball notify the probation officer at least ten days prior to any change in residence or employment;
   7) the defendant shall refram from excessive use ofalcohol and shall not purchase, po~sess,use, djsoibute, or administer any
           controlled substance or any paraphemaha relatrd to any controlled substances, except as prescr~bedby a phybr~an;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered,
   9) the defendant shall not assoylate with any persons en aged in crinnnal activity and shall not associate w~thany person conv~ctedof
      felony, unless granted permlaslon to do so hy the profatlon officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of an
           contraband observed in plaln view of the probation officer;
  11)      the defendant shall n o t e the probation officer within seventy-two hours of being arrested or questioned by a law enforcement office
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without th
           permission of the court; and
  13)      as directedby the robation officer, the defendant shall notify thud patties of risks that may be occasionedby Re defendant's c-
           record or          history or characteristics and shall permit the probation officer to make such notificabons and to c o n f i th
           defendant s compliance with such notification requirement.
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A 0 2458   (Rev. 06/05) Judgment in a Criminal Case             #237
           Sheet 3C - Supervised Release


DEFENDANT: SHANE A. CLUTTS
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                                         SPECIAL CONDITIONS OF SUPERVISION
 The defendant shall participate in a program of mental health treatment, as directed by the probation officer, until such time
 as the defendant is released from the program by the probation officer.

 The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term o supe~isedrelease. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income, whichever is greater.

 The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.
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              Sheet 5 C r i m i n a l Manefary Penalties


 DEFENDANT: SHANE A. CLUTTS
                                                                                                                                          -
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                                                     CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                          Assessment                                                                                              Restitution
 TOTALS               $ 100.00                                                                                                 $ 0.00



     The determination of restitution is deferred until            -. An Amended Judgment in a Criminal Case (A0 245C) will be enter
     after such detemination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, eachpa ee shall receive an approximatel ro ortioned ayment, unless specified otherwise
     the pnonty order or percentage payment columnxelow. However, pursuant to 1 8 V s . 8 . 5 36648), all nonfederal victims must be p
     before the United States is pa~d.

 Name of Payee                                                                         lQUum-*                      Restitution Ordered    Priority or Percenlag_e
                                            . . .
                     .,          .       .                   . . . .. .. .. . . .            . . . . .          .     .    .
                     . . .
                          .
                                     .   . .
                                              .t".
                                             ...
                                               .      ..: .. .. . . . . .. .. . . . , .. . ,.. .
                                                      ...                                          . . ..' I . ..   :> '
    ...                                                                        .   .   .   ,   .                      I




 TOTALS                                     $                          0.00                $                               0.00


          Restitution amount ordered pursuant to plea agreement $

          The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fme is paid in full before the
          fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
          to penalties for delinquency and default, pursuant to 18 U.S.C. $3612(g).

          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          @f the interest requirement is waived for the              @ fme                 restitution.
              the interest requirement for the                 fme            restitution is modified as follows:



 * Findings for the total amount of losses are re uired under Chapters 109A, 110,l IOA, and 113A of Title 18 for offenses committed on or aft
 September 13,1994, but before Apnl23, 199%.
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A 0 2458   (Rev. 06105) Judgment m a Criminal Case              #239
           Sheet 6 -Schedule of Payments
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 DEFENDANT: SHANE A. CLUTTS
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                                                     SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A         Lump sum payment of $                             due immediately, balance due

           [7    not later than                                 0 1
                 in accordance           [7 C,        D,          E, or    IJ F below; or
 B         Payment to begin immediately (may be combined with              C,          D, or        F below); or

 C         Payment inequal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D    [7 Payment inequal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                      (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
         term of supervision; or

 E         Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F         Special instructions regarding the payment of criminal m o n e t q penalties:
            While on Supe~isedrelease, the defendant shall make monthly payments in the amount of $10.00 or ten percent
            of his net monthly income, whichever is greater.




 Unless the court has express1 ordered otherwise, if this jud ent imposes imprisonment, a
 nnpnsonment. All c m a Y m o n e
                                       "X
 Responsibility Program are made to e clerk of the court.
                                                                                               rt
                                                                                             riminal monetary penalties is due durin
                                                                                          Oft Bureau of Pnsons' Inmate Financi
                                         penalties, except %se payments made througg e Federal


 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (11 assessment, (2) resritution principal, (3) restitution interest, (4) fme pnncipal,
 ( 5 ) fine interest, (6) communlry restltut~on,(7) pena t~es,and (8) coslc, including cost of prosecution and coun costs.
